59 F.3d 168NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff-Appellee,v.John E. TUTCHTON, Defendant-Appellant.
    No. 95-6266.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 23, 1995.
    
      John E. Tutchton, Appellant Pro Se.  Richard Douglas Bennett, Office of the United States Attorney, Baltimore, MD, for Appellee.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2255 (1988) complaint.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we deny leave to proceed in forma pauperis and dismiss the appeal on the reasoning of the district court.  United States v. Tutchton, Nos.  CR-93-129-S;  CA-94-3520 (D. Md. Jan. 3, 1995).  Appellant's motion to expedite is now moot and is dismissed for that reason.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    